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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION

UNITED STATES OF AMERICA and
STATE OF TEXAS ex rel DR. JOSÉ G.
DONES,

              Plaintiffs,

       v.                                      Case No. 1:21-cv-181

HARLINGEN MEDICAL CENTER L.P.,
PRIME HEALTHCARE SERVICES, INC.,
DR. ERIC G. SIX, VALLEY
NEUROSURGEONS P.L.L.C., MICHAEL
GONZALES, and NUERA MEDICAL
L.L.C.,

              Defendants.
                         PLAINTIFFS’ OMNIBUS RESPONSE
                      TO DEFENDANTS’ MOTIONS TO DISMISS
       Dr. José G. Dones (“Relator”) hereby files Plaintiffs’ Omnibus Response
(“Response”) to the three motions to dismiss (collectively, “Defendants’ Motions”)
Plaintiffs’ First Amended Complaint (“FAC”) filed by (i) Defendants Harlingen Medical
Center L.P. (“HMC”) and Prime Healthcare Services, Inc. (“PHC”), (ii) Dr. Eric G. Six
(“Six”) and Valley Neurosurgeons P.L.L.C. (“VNS”), and (iii) Michael Gonzales
(“Gonzales”) and NuERA Medical L.L.C. (“NuERA”). See Dkt. Nos. 30, 31, and 29,
respectively; see also, First Am. Compl., Dkt. No. 18.
             INTRODUCTION AND SUMMARY OF THE ARGUMENT
       Relator is a medical doctor with a long history of service to the South Texas
community. He filed the FAC on March 27, 2023.
       Defendant Six is also a medical doctor. He is paid through VNS, an entity of which
he is the sole owner and employee. Six and VNS filed a joint motion to dismiss. Dkt. No.
31 (hereinafter “Six Mot.”). Nowhere in the motion do Six or VNS argue that the
distinction between them is anything but illusory. Accordingly, they will be referred to
jointly and in the singular as “Six” throughout this Response.
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         Defendant Gonzales is a medical device seller. Gonzales is paid through NuERA,
an entity that he owns. Gonzales and NuERA filed a joint motion to dismiss. Dkt No. 29
(hereinafter “Gonzales Mot.”). Nowhere in the motion did Gonzales or NuERA argue
that the distinction between them is anything but illusory. Accordingly, they will be
referred to jointly and in the singular as “Gonzales” throughout this Response.
         Defendant PHC is a for-profit health services corporation. It owns Defendant
HMC, a general partnership, and is PHC’s sole general partner. PHC and HMC filed a
joint motion to dismiss. Dkt. No. 30 (hereinafter “PHC Mot.”). As detailed below, PHC
argues that it is not a proper party to the suit. PHC Mot. at 7–9. However, as explained
below, that argument is unavailing. Accordingly, PHC and HMC shall be referred to
jointly and in the singular as “PHC” throughout this Response.
         The illegal conduct that Plaintiffs allege in their FAC is straightforward: HMC
agreed with Six to purchase medical devices from Gonzales in exchange for Six
performing neurosurgeries at HMC. HMC agreed to do so because neurosurgery is
lucrative for HMC. Six agreed to do so because Gonzales is his son-in-law. Further, HMC
engaged in this scheme at the direction of or with the knowledge of PHC. Each defendant
benefited financially from this arrangement at Plaintiffs’ cost—that is, from the public
purse.
         Each group of defendants now moves to dismiss the FAC. For the reasons set forth
more fully below, the Court should deny Defendants’ Motions. In summary:
         •   Six’s defendant-specific Anti-Kickback Statute arguments fail because they rely
             on the erroneous premise that a physician need personally receive
             remuneration to run afoul of that statute and because Six’s characterizations of
             Plaintiffs’ FAC as lacking certain allegations is demonstrably incorrect.
         •   NuERA’s defendant-specific Stark Law arguments fail because the Stark Law
             does not require that an offender be a physician, because NuERA provides
             designated health services, and because Plaintiffs’ FAC provides clear notice




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          of the alleged financial relationships between the Defendants.—NuERA’s
          arguments fail PHC
      •   NuERA’s defendant-specific Anti-Kickback Statute argument fails because it
          ignores plain text of the statute, which creates a lower threshold for scienter
          that NuERA contends.
      •   Nu-ERA’s     other    defendant-specific     arguments      fail   because   rely    on
          mischaracterizations of Plaintiffs’ allegations.
      •   PHC’s defendant-specific argument that it is not a proper party to this action
          fails because HMC is a partnership, PHC is a partner in HMC, and partners are
          liable for the acts of the partnership.
      •   Defendants’ common arguments, which are principally that Plaintiffs do not
          plead their allegations with sufficient particularity, fail because Defendants
          misconstrue Plaintiffs’ allegations, misinterpret the statutes at issue, and rely
          on an unrealistic assessment of what a Relator in Dones’s position could
          conceivably allege before beginning discovery.
In light of Relator’s credible allegations, which render Plaintiffs’ claims plausible,
Defendants’ attempts to terminate this action are premature and should be denied. For
the Court’s convenience, a proposed order is attached reflecting that conclusion.
                                   LEGAL STANDARD
      The Court is familiar with the legal standards applicable to motions brought under
Federal Rule of Civil Procedure 12(b)(6). As this Court wrote two years ago:
      To survive a Rule 12(b)(6) motion, a plaintiff must plead “enough facts to
      state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,
      550 U.S. 544, 570 (2007); FED. R. CIV. P. 12(b)(6). A plaintiff satisfies the facial
      plausibility standard by pleading “factual content that allows the court to
      draw the reasonable inference that the defendant is liable for the
      misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The
      allegations in the complaint are not required to be thoroughly detailed, but
      must be “more than labels and conclusions, and a formulaic recitation of
      the elements of a cause of action will not do.” Twombly, 550 U.S. at 555. The
      Court considers only the allegations in the complaint and must accept them
      as true, viewing them in the light most favorable to the plaintiff. Spivey v.
      Robertson, 197 F.3d 772, 774 (5th Cir. 1999). If the allegations are sufficient


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        “to raise a right to relief above the speculative level,” the Court will not
        dismiss the cause of action. Twombly, 550 U.S. at 555.
Reyna v. Garza, 569 F. Supp. 3d 567, 576 (S.D. Tex. 2021).
        When a complaint alleges fraud, Federal Rule of Civil Procedure 9(b) also applies.
It requires that “a party must state with particularity the circumstances constituting fraud
or mistake.” FED. R. CIV. P. 9(b). False Claims Act complaints must meet the heightened
pleading standard of Rule 9(b). U.S. ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 185 (5th Cir.
2009). However, “Rule 9(b) does not reflect a subscription to fact pleading and requires
only simple, concise, and direct allegations of the circumstances constituting fraud.” U.S.
ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 186 (5th Cir. 2009) (internal quotation marks
omitted). In other words, “the rule is context specific and flexible.” U.S. ex rel. Grubbs v.
Kanneganti, 565 F.3d 180, 190 (5th Cir. 2009).1
                               ARGUMENT AND AUTHORITIES
        Plaintiffs’ Complaint pleads facts sufficient to render their claims plausible under
Rule 12(b)(6) and to meet the particularity requirements of Rule 9(b). Plaintiffs here
address each set of Defendants’ unique arguments before addressing all Defendants’
common arguments.

I.      DEFENDANT-SPECIFIC ARGUMENTS
        A.      Six
        Six makes three unique arguments,2 all related to the Anti-Kickback Statute.3 Six




         1 Six invites the Court to resolve his motion, at least in part, on the basis of assertions that are

not within the four corners of the FAC and that Six evidently believes will prejudice the Court against
Plaintiffs. Six Mot. at 2 (“Background and Perspective”). This attempt to color the Court’s
‘perspective’—that is, taint its reasoning with irrelevancies—is wholly improper. Accordingly,
Plaintiffs hereby move to strike the section titled “Background and Perspective” from Six’s motion.
See Six Mot. at 2, para. 2.
        2 Six makes a fourth argument: that Plaintiffs fail to plead the alleged scheme with
particularity. Six Mot. at 2–4. This argument is common to all defendants and is addressed in Part II,
below.
       3 As Six makes no unique arguments related to the Stark Law or the TMFPA, such arguments

are waived. See generally, Six Mot.



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argues that Plaintiffs fail to allege (1) that Six received remuneration as a result of their
schemes, (2) that Six made referrals, or (3) that Six had scienter. Six Mot. at 5–6. In so doing,
Six misinterprets the law and ignores the FAC. Plaintiffs address each in turn.
       First, a doctor need not personally receive remuneration to violate the Anti-
Kickback Statute. 42 U.S.C. § 1320A-7b(b)(1); United States v. St. Junis, 739 F.3d 193, 210
(5th Circ. 2013) (holding that proving actual knowledge or specific intent to violate the
Anti-Kickback Statute is not necessary so long as defendant willfully committed an act
that violated the statute). Instead, a doctor need only solicit remuneration. 42 U.S.C. §
1320A-7b(b)(1). As alleged in the FAC, Six solicited remuneration for his son-in-law. FAC
¶ 67. Even if the Anti-Kickback Statute did require a violating doctor to receive
remuneration personally, Plaintiffs allege that Six performed surgeries at HMC pursuant
to the alleged conspiracy and notes that surgery is a “lucrative” business. FAC ¶ 1, ¶ 45.
Therefore, in resolving Defendants’ Motions, because the Court must view the allegations
in the light most favorable to Plaintiffs, the FAC sufficiently alleges that Six received
remuneration personally for performing surgeries at HMC.
       Second, Plaintiffs do allege that Six referred patients to Gonzales by conspiring
with HMC to have the hospital purchase supplies from Gonzales for the surgeries Six
performed. FAC ¶¶ 47–48, ¶ 64. Each instance in which HMC did so constituted a referral
from Six to Gonzales. Each such referral violated the Anti-Kickback Statute. 42 U.S.C. §
1320A-7b(b). See United States v. Cooper, 38 F.4th 428, 433 (5th Cir. 2022) (holding that the
plain text of the statute specifies that when a person pays any person to induce
such person to refer an individual to a person to, say, order a prescription from that
person, he commits a felony and [past holdings] provide a straightforward and consistent
explanation [… that] instances in which the defendant pays someone to induce that
person to refer someone else to a health care good or service [he is violating 42 USC §1320
a- 7b(b)]).
       Third and finally, Plaintiffs expressly allege scienter on the part of all Defendants,
including Six. FAC ¶ 64. However, even if Plaintiffs had not expressly alleged scienter,


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their allegations would withstand Defendants’ Motions because a qui tam plaintiff need
only allege facts sufficient to “render[] an inference of scienter at least as likely as any
plausible opposing inference.” U.S. ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 190 (5th Cir.
2009) (emphasis supplied). Here, Plaintiffs’ allegations regarding Six’s professional
activities would, on their own, be sufficient to give rise to the inference of scienter even if
Plaintiffs had not expressly alleged scienter because it is inconceivable that a working
doctor at HMC, such as Six, would not know that at least some of his work is billed to
Medicare, Medicaid, and Tricare, and it is equally inconceivable that Six, specifically,
would not know that Gonzales was his son-in-law.
       For all these reasons, Six’s unique arguments fail, and his Motion, therefore, must
be denied as to these issues.
       B.     Gonzales
              1.     Stark Law
       Gonzales makes three unique arguments in support of its motion to dismiss
Plaintiffs’ Stark Law claims. First, Gonzales argues that he is not subject to the Stark Law
because he is not a physician. Gonzales Mot. at 7–8. Second, Gonzales argues that he does
not furnish designated health services. Mot. at 8. Third, Gonzales argues that Plaintiffs
fail to allege a financial relationship between Six and Gonzales within the meaning of the
Stark Law. Gonzales Mot. at n.13. Each of Gonzales’s arguments fail.
       First, non-physicians are subject to the Stark Law, as the plain language of the
statute makes clear. U.S. v. Cooper 38 F.4th 428, 433 (5th Cir. 2022). To argue otherwise,
Gonzales relies upon an erroneous reading of the Stark Law. In relevant part, the Stark
Law provides:
       [I]f a physician (or an immediate family member of such physician) has a
       financial relationship with an entity specified in paragraph (2), then—
       (A) the physician may not make a referral to the entity for the furnishing of
       designated health services for which payment otherwise may be made
       under this subchapter, and
       (B) the entity may not present or cause to be presented a claim under this
       subchapter or bill to any individual, third party payor, or other entity for


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       designated health services furnished pursuant to a referral prohibited
       under subparagraph (A).
42 U.S.C. § 1395nn(a)(1) (emphasis added). Gonzales misinterprets the word ‘and’
(italicized above) as joining a two-member series of necessary conditions for a violation
of the Stark Law. However, that interpretation is incorrect precisely because subsection
(A) addresses prohibited physician conduct whereas subsection (B) addresses prohibited
entity conduct. Therefore, the ‘and’ upon which Gonzales’s argument hinges is correctly
interpreted as joining a two-member series of sufficient but not necessary conditions for
a violation of the Stark Law. Accordingly, non-physicians, such as Gonzales, may be held
liable for Stark Law violations. U.S. v. Cooper 38 F.4th 428, 433 (5th Cir. 2022); see also
United States v. Miles, 360 F.3d 472, 479 (5th Cir. 2004) (emphasis added); see also United
States v. Ricard, 922 F.3d 639, 647 (5th Cir. 2019); United States v. Martinez, 921 F.3d 452,
466–67 (5th Cir. 2019).
       Second, contrary to his assertion, Gonzales does provide designated health
services within the meaning of the Stark Law. Gonzales Mot. at 8. The Stark Law
expressly identifies “inpatient and outpatient hospital services” as a designated health
service. 42 U.S.C. § 1395nn(h)(6)(k); 42 C.F.R. § 411.351. As co-Defendant Six admits,
“spine surgeons work closely with device representatives who accompany surgeons into
the operating room and assist in the preparation of the trays of implant pieces.” Six Mot.
at 4. Such work undoubtedly constitutes “inpatient . . . hospital services” within the
meaning of the Stark Law, and Plaintiffs allege that Gonzales performed such work.
Compl. 48–49. Therefore, Gonzales furnishes designated health services within the
meaning of the Stark Law. See United States ex rel. Thompson v. Columbia/HCA Healthcare
Corp., 125 F.3d 899, 903 (5th Cir.1997) (noting that the Stark Law “prohibits referring
Medicare patients to an entity for certain designated health services including inpatient
and outpatient hospital services).
       Third, Plaintiffs allegations provided unambiguous notice of the financial
relationship between the Defendants. FAC ¶¶ 47–48, ¶ 52. Further, this relationship falls
unambiguously within the ambit of the Stark Law. Indeed, the Stark Law prohibits


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referrals from a doctor to an immediate family member, 42 U.S.C. § 1395nn(a)(1), and
Federal regulations expressly define “immediate family member” to include children and
children-in-law, 42 C.F.R. § 411.351. Here, Plaintiffs allege that as a result of Six’s referrals,
HMC compensated Gonzales for goods and services, and because Gonzales and Six’s
daughter are married and hold NuERA as common property, all payments to Gonzales
were also payments to Six’s daughter. FAC ¶¶ 47–48, ¶ 52. Accordingly, Gonzales’s
assertion that Plaintiffs fail to allege a “direct or indirect compensation arrangement”
prohibited by the Stark Law fails to withstand scrutiny. See Gonzales Mot. at n.13.
               2.     Anti-Kickback Statute
         Gonzales’ initial attack on Plaintiffs’ AKS allegations amounts to one argument:
that Plaintiffs fail to render their AKS allegations with sufficient particularity to
withstand the requirements of Rule 9(b). Gonzales Mot. at 11–14. HMC articulates the
same view in its motion, and Plaintiffs therefore respond to this argument in Part II
below.
         Gonzales next appears to argue that Plaintiffs fail to plead inducement to Six or
remuneration to Gonzales. Gonzales Mot. at 14–15. This argument is also made by HMC
and will likewise be addressed in Part II below.
         Finally, Gonzales argues that Plaintiffs failed to plead “knowing and willful acts.”
Gonzales Mot. at 15. This contention is without merit because it is based on an erroneous
understanding of what is required for an act to be knowing and willful under the AKS.
To wit, Defendants appear to believe that an act is only knowing or willful if the alleged
wrongdoer understands that the act is illegal and yet proceeds to commit it. Id. (“Relator
has alleged no facts to support that Moving Defendant[s] knew that any acts were
undertaken based on improper remuneration (kickback, bribe, etc.) . . . .” (emphasis
added)). However, to perform an act “knowingly and willfully” merely means to perform
the act with intention to perform the act. It does not mean to perform the act with specific
intention to break the law. Indeed, this distinction is made clear in the statute itself, which
provides that “[w]ith respect to violations of this section, a person need not have actual


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knowledge of this section or specific intent to commit a violation of this section” of the
AKS in order to be found guilty. 42 U.S.C. § 1320a-7b. See United States v. St. Junis, 739
F.3d 193, 210 (5th Circ. 2013) (holding that proving actual knowledge or specific intent to
violate the Anti-Kickback Statute is not necessary so long as defendant willfully
committed an act that violated the statute). Or, as the Committee on Federal Criminal
Jury Instructions of the Seventh Circuit succinctly put it, “section 1320a-7b(b) does not
require an intent to defraud.” FED. CRIM. JURY INSTR. 7TH CIR. 1320a-7b(b) (2022 ed.), FED.
CRIM. JURY INSTR. 7TH CIR. 1320a-7b(b) (2022 ed.). In other words, acts committed
voluntarily are knowing and willful within the meaning of the AKS, and Plaintiffs
specifically allege that Gonzales was aware of the other Defendants’ activities and
coordinated his efforts with them. FAC ¶¶ 69–72. Furthermore, Plaintiffs specifically
allege that each of the Defendants, including Gonzales, “had notice of their obligations
under law.” FAC ¶ 11. Therefore, even if “knowing and willful” meant what Gonzales
appears to believe—which it does not—Plaintiffs’ allegations still would be adequate.
              3.     Other General Arguments
       Gonzales also argues that Plaintiffs fail to plead certification, presentment,
causation, or scienter. Gonzales Mot. at 15–19. These misstatements are easily answered
by reference to paragraphs 66 (certification and presentment), 69 (causation), and 64, 69,
and 72 (scienter) of the FAC, which address each of these issues. Therefore, Plaintiffs have
sufficiently pleaded certification, presentment, causation, and scienter. The remainder of
Gonzales’ arguments parallel HMC’s arguments. Compare Gonzales Mot. at 19–20 with
PHC Mot. at 17–19. Accordingly, they are addressed in Part II below.
       C.     PHC
       As noted in the Introduction, PHC argues that it is not a proper party to this suit.
To begin, PHC argues that a parent company cannot be held liable for the actions of its
subsidiaries. PHC Mot. at 7. This overstates the case. While the actions of a subsidiary
corporation may not generally be imputed to a parent corporation, that “bedrock
principle of corporate law” does not apply in the case of a Texas partnership. See PHC


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Mot. at 7 (quoting Bridas S.A.P.I.C. v. Gov’t of Turkmenistan, 447 F.3d 411, 416 (5th Cir.
2006)).
          Under Texas law, “[e]ach partner is an agent of the partnership for the purpose of
its business.” Tex. Bus. Orgs. Code Ann. § 152.301. Further, “[a] partnership is liable for
loss or injury to a person, including a partner, or for a penalty caused by or incurred as a
result of a wrongful act or omission or other actionable conduct of a partner acting . . . in
the ordinary course of business.” Id. § 152.303. And, “all partners are jointly and severally
liable for all obligations of the partnership.” Id. § 152.304. See Am. Star Energy & Mins.
Corp. v. Stowers, 457 S.W.2d 427, 429 (Tex. 2015); see also Commons W. Off. Condos, Ltd. v.
Resol. Tr. Corp., 5 F.3d 125, 127 (5th Cir. 1993).
          Here, Plaintiffs seek to hold PHC, a general partner of HMC, accountable for the
actions of the partnership. As both PHC and Six concede, the relevant conduct forming
the basis of this action occurred in the “ordinary course of business.” PHC Mot. at 5; Six
Mot. at 3. Therefore, PHC’s contrary citations based on Florida and Georgia law simply
do not apply, and PHC is a proper party to this action. See PHC Mot. 12 (citing U. S. ex
rel. Lewis v. Cmty. Health Sys., Inc., No. 18-20394-CIV, 2020 WL 3103994, at *19 (S.D. Fla.
June 11, 2020) and U. S. ex rel. Heller v. Guardian Pharmacy, LLC, 521 F. Supp. 3d 1254, 1280-
81 (N.D. Ga. 2021)).

II.       DEFENDANTS’ COMMON ARGUMENTS
          The arguments common to all Defendants are organized differently by each
Defendant. For two reasons, Plaintiffs here address these common arguments in the order
presented by PHC. First, Six expressly joins the arguments advanced by PHC. Six Mot. 2.
Second, PHC’s presentation of Defendants’ common arguments is more linear than
Gonzales’s.
          A. Plaintiffs Plead Their FCA Claims with Sufficient Specificity
          Defendants acknowledge that Stark Law and AKS violations may serve as the
basis for FCA claims. PHC Mot. at 7. However, Defendants argue that Plaintiffs have
failed to state a claim under Rule 12(b)(6) because Plaintiffs have failed to plead their


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claims with the particularity required by Rule 9(b). Id. In particular, Defendants argue
that Plaintiffs fail to plead “the details of an actually submitted false claim or particular
details of a scheme to submit false claims paired with reliable indicia that lead to a strong
inference that the claims were actually submitted.” PHC Mot. at 9 (quoting U.S. ex rel.
Grubbs v. Kanneganti, 565 F.3d 180, 190 (5th Cir. 2009)) (internal quotations omitted).
Defendants’ application of the relevant law at this stage of the litigation is incorrect.
       As to the issue of whether Plaintiffs adequately pleaded the details of an actually
submitted false claim: This case was unsealed in January of 2023, and Plaintiffs filed their
FAC in March 2023. Dkt. No. 18. Relator is seeking to obtain whatever evidence the U.S.
Department of Justice and Texas Attorney General may have acquired during their
investigations of the case, and to minimize the risk of duplicate discovery, Plaintiffs have
so far refrained from serving additional discovery requests upon Defendants. Further,
and as Defendants correctly point out, Relator is not an employee of HMC and lacks
access to the records showing that Defendants submitted or cause to be submitted false
claims. Accordingly, to grant Defendants’ motion because Relator has not pleaded the
details of an individual false claim would be to punish Relator for his forbearance in the
interest of making this litigation as efficient as possible for all parties, including
Defendants. Moreover, for the reasons stated, the relevant evidence on the basis of which
Plaintiffs could plead the details of particular false claims are in Defendants’ custody or
control. Therefore, it would be premature and against the public interest at this stage in
the litigation, when discovery propounded by Relator has yet to begin, to dismiss this qui
tam action because Relator lacks access to the documents necessary to prove his claims.
That is too high a bar, and it is found nowhere in the law. Relator is not required to
identify particular claims prior to discovery. See U.S. ex rel. Parikh v. Citizens Med. Ctr.,
977 F. Supp. 2d 654, 665 (S.D. Tex. 2013), aff’d sub nom. U.S. ex rel. Parikh v. Brown, 762 F.3d
461 (5th Cir. 2014), opinion withdrawn and superseded on reh’g, 587 F. App’x 123 (5th Cir.
2014), withdrawn from bound volume (Oct. 1, 2014), and aff’d sub nom. U.S. ex rel. Parikh v.




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Brown, 587 F. App’x 123 (5th Cir. 20140); see also U.S. ex rel. Grubbs v. Kanneganti, 565 F. 3d
180, 190 (5th Cir. 2009).
          As to the issue of whether Plaintiffs adequately pleaded reliable indicia giving rise
to the inference that false claims were submitted: Plaintiffs allege a comprehensive
scheme of misconduct. FAC ¶¶ 2, 45–72. Again, Plaintiffs allege that PHC induced Six to
perform lucrative surgeries at HMC in exchange for HMC’s use of Gonzales as a supplier
of medical devices. FAC ¶¶ 2, 47–48. Defendants do not dispute that Six serviced patients
at HMC whose care was paid by Medicare, Medicaid, and Tricare, that Gonzales-
supplied devices were used in those surgeries, or that Gonzales is Six’s son-in-law, as
alleged in the FAC. See FAC ¶¶ 2, 7, 50, 52. Under the circumstances of this case, the
existence of these well-pleaded relationships alone constitutes sufficient indicia that
Defendants submitted or cause to be submitted to the federal and state government. Put
another way, viewing the factual allegations in the light most favorable to Plaintiffs, it is
reasonable to infer that Defendants’ scheme resulted in false claims being submitted to
the United States and to Texas in violation of the AKS and Stark Law and, thus, in
violation of the FCA.
          B.      Plaintiffs Plead Plausible FCA Claims Based on the Stark Law
          Defendants argue that Plaintiffs fail to allege violations of the Stark Law with
sufficient particularity and fail to plead a prohibited financial relationship altogether.
PHC Mot. at 10–15. As explained more fully below, Defendants’ erroneous arguments
fail.
                  1.     Plaintiffs Plead All Elements of Their Claims
          First, Plaintiffs adequately plead each element of a Stark Law violation by each of
the Defendants. Relevantly, a plain-language reading of the Stark Law shows that a
violation occurs when:
          (i)     a physician (or immediate family member)
          (ii)    refers a patient to an entity
          (iii)   to receive designated health services and


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       (iv)    the referring physician (or immediate family member) and entity have a
               compensation arrangement.
42 U.S.C. § 1395nn(a). Likewise, a Stark Law Violation also occurs when:
       (i)     an entity
       (ii)    presents or causes to be presented
       (iii)   a claim for designated health services
       (iv)    pursuant to a prohibited referral.
Id. Defendants over-enunciate these elements4 and ignore that the Stark Law prohibits
both physicians and entities from engaging in certain conduct. PHC Mot. at 11. That is,
as here, both physicians and entities may violate the Stark Law.
       As to Stark Law violations by Six: Plaintiffs allege that Six is a physician,
specifically, a neurosurgeon. FAC ¶¶ 5, 46. This satisfies the first element of a Stark Law
violation by a physician. Plaintiffs allege that Six refers patients to HMC and NuERA,
and that HMC and NuERA are entities. FAC ¶¶ 8–9, 48. This satisfies the second element
of a Start Act violation by a physician. Plaintiffs allege that these referrals are for inpatient
and outpatient hospital services, which are designated health services. FAC ¶¶ 48–49.
This satisfies the third element of a Stark Law violation by a physician. See United States
ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125 F.3d 899, 903 (5th Cir.1997) (noting
that the Stark Law “prohibits referring Medicare patients to an entity for certain
designated health services including inpatient and outpatient hospital services). Finally,
Plaintiffs allege that a compensation agreement exists between both HMC and Six and
between HMC and NuERA. FAC ¶ 48. This satisfies the fourth element of a Stark Law
violation by a physician. See id.




       4 Defendants characterize a well-pleaded Stark Law violation as satisfying six elements in a

two-step process. A plain reading of the statutory text shows this approach to be wrong. PHC Mot. at
11.



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       As to Stark Law violations by PHC: Plaintiffs allege that PHC is an entity. FAC ¶
9–10.5 This satisfies the first element of a Stark Law violation by an entity. Plaintiffs allege
that PHC and HMC present claims for reimbursement to Plaintiffs. FAC ¶¶ 53, 66. This
satisfies the second element of a Stark Law violation by an entity. Plaintiffs allege that
these claims are for designated health services, including hospital services. FAC ¶¶ 48–
49. This satisfies the third element of a Stark Law violation by an entity. Plaintiffs allege
that these claims were presented pursuant to a prohibited referral, as described in the
immediately preceding paragraph. This satisfies the fourth element of a Stark Law
violation by an entity.
       As to Stark Law violations by NuERA: Plaintiffs allege that NuERA is an entity.
FAC ¶ 8. This satisfies the first element of a Stark Law violation by an entity. Plaintiffs
allege that NuERA causes false claims for reimbursement to be submitted to Plaintiffs.
FAC ¶ 75. This satisfies the second element of a Stark Law violation by an entity. Plaintiffs
allege that these claims are for designated health services, including hospital services.
FAC ¶¶ 48–49. This satisfies the third element of a Stark Law violation by an entity.
Plaintiffs allege that these claims were presented pursuant to a prohibited referral, as
described two paragraphs above. This satisfies the fourth element of a Stark Law
violation by an entity.
       As to the particularity of these allegations: As noted above, Defendants’
complaints concerning the level of particularity with which Plaintiffs have made these
allegations are ill founded. At the pleading stage, under the circumstances of this case, it
is unreasonable to expect Relator to have particular documents upon which to rely in
stating his allegations because these reside in Defendants custody or control, and the
circumstances of the illegal arrangement between Defendants and the relationships




      5 As noted in the Introduction, PHC and HMC are treated as one for the purposes of this

Response.



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among them—the disclosure of which Relator is the original source vis-à-vis Plaintiffs—
are, standing alone, sufficient indicia of Stark Law violations to give rise to the inference
that false claims have been submitted.
              2.     Plaintiffs Allege Financial Relationships Between the Parties
       Second, Plaintiffs adequately allege a web of Stark-prohibited financial
relationships to render their claims plausible. To argue otherwise, Defendants pretend
that the Stark Law does not say what it does. This attempt fails.
       The Stark Law prohibits referrals from physicians not only to themselves but to
entities in which their immediate family members have a financial interest. 42 U.S.C.
§ 1395nn(a). Here, Six’s immediate family members (Gonzales and his wife, Six’s
daughter) have a financial interest in NuERA. As alleged in the FAC, Six refers patients
to HMC for the use of its facilities in performing their surgeries and refers patients to
NuERA by requiring HMC to use NuERA to procure certain medical devices and services
for use in those surgeries. Thus, Six’s immediate family members are not “indirectly
compensated” as Defendants aver but are directly compensated by HMC. Accordingly,
Defendants’ invocation of and analysis of Plaintiffs’ allegation under 42 C.F.R. §
411.354(c)(2) is simply inapposite. See PHC Mot. at 13–15. As Defendants themselves
demonstrate, that section of the Code of Federal Regulations addresses situations in
which a string of nested entities are used in an attempt to obscure the beneficial
ownership of the Stark-Law-violating physician or immediate family members. See PHC
Mot. at n.6 (describing a hypothetical referring physician’s payment through nested
hypothetical entities A, B, C, and D). That is not the case here. Here, the relationships
between the physician and his co-conspirators are direct, as the illustration on the next
page demonstrates.




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                             Fig. 1. The relationships between Defendants.



Thus, compensation flows directly from one of the entities to which Six makes referrals
(HMC) to an entity (NuERA) owned by immediate family members (Gonzales and his
spouse) without an intermediary. See PHC Mot. at n.3. Because this is a direct flow, no
additional elements need be pleaded, and Defendants concede that Plaintiffs have
adequately alleged an “unbroken chain of financial relationships” between HMC and
NuERA. PHC Mot. at 14.
       However, should the Court find that 42 C.F.R. 411.354(c)(2) applies and, therefore,
that Plaintiffs must plead additional factual allegations to assert a cause of action under
the Stark Law, then the Court should grant Plaintiffs leave to amend accordingly.
       C.     Plaintiffs Plead Plausible FCA Claims Based on the AKS
       Defendants’ attack on Plaintiffs’ AKS claims reduces to the assertions that “the
FAC fails to make any showing of remuneration” and that the FAC “fails to allege that
HMC actually induced the referral of any federal healthcare program patient.” PHC Mot.
at 16. Along the way, Defendants make numerous irrelevant or incorrect statements, but
Defendants are wrong on both counts.


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       1. Remuneration
       First, Defendants assert that Plaintiffs fail to allege that HMC “paid [NuERA] for
medical devices that were unnecessary or . . . above fair market value.” PHC Mot. at 16.
Even if true, this assertion is irrelevant because there is no requirement in the AKS that a
government healthcare funding program be charged for needless or price-inflated
products.
       Second, Defendants assert that Plaintiffs “allege[] no detail of what remuneration
passed from HMC to Michael Gonzales through NuERA.” Id. This assertion ignores
Plaintiffs’ clear indication that Six was paid money to perform surgeries at HMC and that
Gonzales was paid money to provide supplies and services used in Six’s surgeries. See,
e.g., FAC ¶¶ 1–2, ¶¶ 45–46, 47. Indeed, Plaintiffs specifically allege that HMC tendered
payment for its “purchase” of goods and services from Gonzales, FAC ¶ 47, and that Six
was “highly compensated.” FAC ¶ 57.
       Third, Defendant asserts that “the Complaint pleads no allegation of remuneration
passing from Mr. Gonzales to Dr. Six,” pleads “no detail . . . of any remuneration passing
from HMC to Dr. Six—whether directly or through Mr. Gonzales,” and that “Relator
appears to conflate the Stark Law’s explicit treatment of a physician’s immediate family
members as relevant for purposes of determining the presence of a financial
relationship.” PHC Mot. at 16. These assertions are erroneous. Defendants’ confusion
arises, again, from a misreading of the relevant statute.
       The AKS reads, in relevant part, as follows:
       (1)    Whoever knowingly and willfully solicits or receives any
              remuneration (including any kickback, bribe, or rebate) directly or
              indirectly, overtly or covertly, in cash or in kind—
              (A)    in return for referring an individual to a person for the
                     furnishing or arranging for the furnishing of any item or
                     service for which payment may be made in whole or in part
                     under a Federal health care program, or
              (B)    in return for purchasing, leasing, ordering, or arranging for or
                     recommending purchasing, leasing, or ordering any good,




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                     facility, service, or item for which payment may be made in
                     whole or in part under a Federal health care program,
       shall be guilty of a felony and upon conviction thereof, shall be fined not
       more than $100,000 or imprisoned for not more than 10 years, or both.
       (2)    Whoever knowingly and willfully offers or pays any remuneration
              (including any kickback, bribe, or rebate) directly or indirectly,
              overtly or covertly, in cash or in kind to any person to induce such
              person—
              (A)    to refer an individual to a person for the furnishing or arranging
                     for the furnishing of any item or service for which payment
                     may be made in whole or in part under a Federal health care
                     program, or
              (B)    to purchase, lease, order, or arrange for or recommend
                     purchasing, leasing, or ordering any good, facility, service, or
                     item for which payment may be made in whole or in part
                     under a Federal health care program, shall be guilty of a
                     felony and upon conviction thereof, shall be fined not more
                     than $100,000 or imprisoned for not more than 10 years, or
                     both.
42 U.S.C. § 1320a–7b(b) (emphases added). Importantly, the AKS prohibits both the
solicitation and the receipt of remuneration for referrals or purchases, id. § 1320a-7b(b)(1),
and the AKS does not require that that the solicitor of remuneration be the recipient of
remuneration. See United States v. Cooper, 38 F.4th 428, 433 (5th Cir. 2022). That is, the AKS
facially applies even when the solicitation is made by one party with the intention that a
third party will be the beneficiary of the verboten scheme. Additionally, the AKS
prohibits the paying of remuneration for referrals. United States v. St. Junius, 739 F.3d 193,
210 (5th Cir. 2013) (holding the Anti–Kickback Statute prohibits receiving commissions
in return for referrals); United States v. Miles, 360 F.3d 472, 479 (5thCir. 2004) (holding the
Anti–Kickback Statute “criminalizes the payment of any funds designed to encourage an
individual to refer another party to a Medicare provider for services to be paid for by the
Medicare program”). Here, Six is alleged to have solicited purchases by HMC from
NuERA in exchange for referring patients to HMC, and NuERA is alleged to have received
payment for such purchases. FAC §§ 56–57. And HMS is alleged to have made those
payments. Id. Therefore, Defendants’ alleged conduct falls squarely within the AKS.




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                  2.   Inducement
       Defendants assert that Plaintiffs “fail[] to allege that HMC actually induced the
referral of any federal healthcare program patient.” PHC Mot. at 16. Per Defendants’ own
citation, “[t]his requires pleading that [the defendant] knowingly paid remuneration to
specific physicians in exchange for referrals.” Id. 17 (quoting U.S. ex rel. Nunnally v. W.
Calcasieu Cameron Hosp., 519 Fed. App’x 890, 894 (5th Cir. 2013). Setting aside that the
AKS does not limit its reach to physicians, Plaintiffs’ allegations easily meet Defendants’
proposed test. Contrary to Defendants’ assertions, qui tam Plaintiffs are not required to
plead a specific “discussion[] or event . . . about any kick-back tainted understanding
between HMC and Dr. Six.” PHC Mot. 17. It is sufficient that Plaintiffs plead that such an
understanding existed and that it actually induced Six to perform surgeries at HMC and
induced HMC to pay Gonzales for goods and services. U.S. ex rel. Grubbs v. Kanneganti,
565 F.3d 180, 190 (5th Cir. 2009) (holding that a relator satisfies Rule 9(b) by alleging
particular details of a scheme to submit false claims paired with reliable indicia that lead
to a strong inference that false claims were actually submitted, even if the relator cannot
allege details of a particular false claim). Plaintiffs do so repeatedly. See, e.g., FAC ¶¶ 1–2
(“Harlingen Medical Center, L.P. and Prime Healthcare Services, Inc., have induced Dr.
Six to perform surgeries at its facilities by agreeing to purchase surgical hardware and
supplies from a NuERA Medical, LLC . . . .”) (emphasis added), ¶¶ 4–48 (“Dr. Six asked
HMC to purchase services and supplies . . . from NuERA and other companies
represented by Gonzales . . . each time Dr. Six performed a surgery at HMC. HMC agreed
to Dr. Six’s request . . . .”) (showing that the inducement was effective, i.e., ‘actual’).
Therefore, despite not pleading a specific discussion or event, Plaintiffs allegations here
are sufficient.




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       D.     Plaintiffs’ Plead Plausible Conspiracy Allegations
       The Fifth Circuit set forth the elements of an FCA conspiracy claim in U.S. ex rel.
Grubbs v. Kanneganti:
       [T]o prove a False Claims Act conspiracy, a relator must show (1) the
       existence of an unlawful agreement between defendants to get a false or
       fraudulent claim allowed or paid by [the Government] and (2) at least one
       act performed in furtherance of that agreement. The particularity
       requirements of Rule 9(b) apply to the False Claims Act's conspiracy
       provision with equal force as to its “presentment” and “record” provisions.
565 F.3d at 193 (5th Cir. 2009).
       Here, Plaintiffs allege both of these elements. Plaintiffs allege the existence of an
unlawful agreement, specifically, that PHC and HMC “induced Dr. Six to perform
surgeries at its facilities by agreeing to purchase surgical hardware and supplies from a
NuERA,” which is owned by Six’s son-in-law. See, e.g., FAC ¶ 2. Plaintiffs allege many
acts performed in furtherance of that agreement, including that HMC did, in fact,
purchase goods and services from NuERA pursuant to the unlawful agreement, FAC ¶
48–49, beginning no later than 2012 and continuing to present, FAC ¶ 55.
       Defendants’ mischaracterization of these allegations as “threadbare” relies on an
unstated premise, namely, that the conspiracy alleged need somehow be more complex
than it was. See PHC Mot. at 18. That simply is not so. A self-referral under the Stark Law
or kickback under the AKS giving rise to an FCA violation need not involve an overly
complex scheme, and Defendants identify no law indicating otherwise. That Defendants
here engaged in so plain a scheme to defraud Plaintiffs in no way undermines the
completeness of Plaintiffs’ allegations. Therefore, in alleging the scheme illustrated in
Figure 1, above, Plaintiffs have pleaded a conspiracy with sufficient particularity to meet
the requirements of Rules 12(b)(6) and 9(b).
       Defendants’ other mischaracterizations of Plaintiffs’ allegations are also
unavailing, in part because they are needlessly scholastic. For example, Defendants assert
that “Relator does not identify which minds are alleged to have met” and that “Relator
does not identify which of the defendants are alleged to have participated in any



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conspiracy.” PHC Mot. 18. Such statements fly in the face of the text of the FAC, which
plainly states that all the Defendants agreed to the conspiracy and participated in it. See,
e.g., FAC ¶¶ 47–48, ¶ 50.
       Defendants continue to ignore the FAC when they assert that Plaintiffs fail to
explain what the false claims submitted were. PHC Mot. at 18. Indeed, Plaintiffs FAC
takes great pains to explain the specific forms presented to Plaintiffs by Defendants or
caused by Defendants to be presented to Plaintiffs to achieve the objects of their
conspiracy and that they did submit them. FAC ¶¶ 29–44, ¶ 53.
       E.      Plaintiffs Plausibly Plead TMFPA Violations
       Finally, Plaintiffs adequately plead claims under Sections 36.002(1), 36.002(4)(B),
and 36.002(9) of the Texas Human Resources Code, commonly known as the Texas
Medicaid Fraud Prevention Act, Tex. Hum. Res. Code, chapter 36 (“TMFPA”). As these
claims are predicated on violations of the Stark Law and AKS and on the alleged
conspiracy between Defendants, Plaintiffs successfully state their claims under the
TMFPA for the same reasons, explained above, that they successfully state their claims
under the Stark Law, AKS, and FCA.
       Defendants' unlawful conduct, as described in the FAC, also violates the TMFPA
in its own right. Accordingly, Plaintiffs note that Defendants’ arguments concerning the
submission of false claims do not apply to the Texas causes of action. A review of the
plain language of the TMFPA reveals that liability under that statute for the unlawful acts
pleaded here does not require the actual submission of a false claim. Tex. Hum. Res. Code
§ 36.002(1), 4(B), & (9).
       However, Defendants strike at a straw man when they assert that Plaintiffs fail to
state a claim under Section 36.002(5) of the Texas Human Resources Code, see PHC Mot.
19, because Plaintiffs do not assert a cause of action under that section, FAC ¶¶ 85–96.




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Accordingly, Defendants’ motion to dismiss Plaintiffs purported (but non-existent) cause
of action under Section 36.002(5) is not properly before the Court and must be denied.6
                                          CONCLUSION
       For the foregoing reasons, the Court should deny Defendants’ Motions. In the
alternative, the Court should grant Plaintiffs leave to amend their First Amended
Complaint to the extent the Court finds any of their allegations deficient at this early state
of the action.

                                                   Respectfully submitted,

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        6 In the interest of transparency, Plaintiffs would inform the Court that they do intend to

amend their complaint to add causes of action under Sections 36.002(5) and 36.002(13). Under Section
36.002(5), the TMFPA provides, in relevant part, that it is unlawful when a person “knowingly pays,
charges, solicits, accepts, or receives, in addition to an amount paid under the Medicaid program, a
gift, money, a donation, or other consideration as a condition to the provision of a service or product
or the continued provision of a service or product if the cost of the service or product is paid for, in
whole or in part, under the Medicaid program.” Tex. Human Res. Code § 36.002(5). Section 36.002(13)
incorporates by reference the Texas Anti-Kickback Statute.
        Notably, the statute does not say that the solicitor of the additional consideration must be the
same person who receives the additional consideration. As alleged in the FAC and discussed above:
(i) HMC, Six, and Gonzales were paid for goods and services paid for under the Medicaid program; (ii)
Six, the cost of whose services are paid for by Medicaid, solicited additional consideration, i.e.,
purchases from Gonzales, as a condition to perform surgeries at HMC; (iii) HMC agreed to pay and
did pay that consideration; and (iv) Gonzales accepted and received that conditional consideration.
Therefore, if Plaintiffs had asserted a cause of action under Section 36.002(5), they would have done
so adequately.



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                            CERTIFICATE OF SERVICE
      I hereby certify that all counsel of record are being served with a copy of this
document in accordance with the Federal Rules of Civil Procedure via the Court’s
CM/ECF system on July 31, 2023.


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